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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

   In re:                                                              Chapter 11

   TSAWD HOLDINGS, INC., et al.,1                                      Case No. 16-10527 (MFW)

                                Debtors.                               (Jointly Administered)

                                                                       Hearing Date: November 27, 2018 at 10:30 a.m. (ET)
                                                                       Objection Deadline: October 30, 2018 at 4:00 p.m. (ET)


                            DEBTORS’ TENTH MOTION FOR ENTRY OF AN ORDER
                           EXTENDING THE PERIOD WITHIN WHICH THE DEBTORS
                            MAY REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452

                    TSAWD Holdings, Inc. and its affiliated debtors and debtors in possession in the above-

         captioned chapter 11 cases (collectively, the “Debtors”), hereby submit this motion (this

         “Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A, extending

         the period within which the Debtors may remove causes of actions and related proceedings,

         pursuant to 28 U.S.C. § 1452 (the “Removal Deadline”), through and including February 21,

         2019. In support of this Motion, the Debtors respectfully state as follows:

                                                 JURISDICTION AND VENUE

                    1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

         1334(b), and the Amended Standing Order of Reference from the United States District Court for

         the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

         28 U.S.C. § 157(b) and pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice


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                The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
                Holdings, Inc. (9008); Slap Shot Holdings Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
                Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-
                captioned Debtors is located at 2305 East Arapahoe Road, Suite 234, Centennial, CO 80122.

                The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings Corp.
                (8209); The Sports Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce,
                Inc. (4817); and TSA Caribe, Inc. (5664).
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         and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

         Motion to the extent that it is later determined that the Court, absent consent of the parties,

         cannot enter final orders or judgments in connection herewith consistent with Article III of the

         United States Constitution. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

         1409.

                 2.     The statutory bases for the relief requested herein are 28 U.S.C. § 1452 and Rules

         9006 and 9027 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                  BACKGROUND

         A.      General Background

                 3.     On March 2, 2016 (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

         with the United States Bankruptcy Court for the District of Delaware (the “Court”). Pursuant to

         sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are continuing to manage their

         financial affairs as debtors in possession. No request for a trustee or examiner has been made in

         these chapter 11 cases (collectively, the “Chapter 11 Cases”).

                 4.     On March 10, 2016, the Office of the United States Trustee for the District of

         Delaware (the “U.S. Trustee”) appointed the statutory committee of unsecured creditors pursuant

         to section 1102 of the Bankruptcy Code (the “Committee”).

                 5.     Information regarding the Debtors’ history and business operations, capital

         structure and primary secured indebtedness, and the events leading up to the commencement of

         the Chapter 11 Cases is set forth in the Declaration of Jeremy Aguilar in Support of the Debtors’




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         Chapter 11 Petitions and Requests for First Day Relief [Docket No. 22], which was filed on the

         Petition Date.

         B.     Prior Extension Requests

                6.        On April 28, 2016, the Debtors filed a motion [Docket No. 1482] (the “First

         Extension Motion”) seeking entry of an order extending the initial Removal Deadline. On May

         23, 2016, the Court entered an order [Docket No. 2045] (the “First Extension Order”) granting

         the First Extension Motion and extending the Removal Deadline through and including August

         29, 2016.

                7.        The Debtors subsequently sought to further extend the Removal Deadline and, on

         August 22, 2016, the Court entered that certain Second Order Extending the Period Within

         Which the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 2801] (the

         “Second Extension Order”), pursuant to which the Removal Deadline was extended through and

         including November 28, 2016.

                8.        The Debtors subsequently sought to further extend the Removal Deadline and, on

         December 1, 2016, the Court entered that certain Third Order Extending the Period Within

         Which the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 3236] (the

         “Third Extension Order”), pursuant to which the Removal Deadline was extended through and

         including February 27, 2017.

                9.        The Debtors subsequently sought to further extend the Removal Deadline and, on

         March 6, 2017, the Court entered that certain Fourth Order Extending the Period Within Which

         the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 3465] (the “Fourth

         Extension Order”), pursuant to which the Removal Deadline was extended through and including

         May 29, 2017.


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                10.    The Debtors subsequently sought to further extend the Removal Deadline and, on

         June 8, 2017, the Court entered that certain Fifth Order Extending the Period Within Which the

         Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 3663] (the “Fifth

         Extension Order”), pursuant to which the Removal Deadline was extended through and including

         August 28, 2017.

                11.    The Debtors subsequently sought to further extend the Removal Deadline and, on

         August 28, 2017, the Court entered that certain Sixth Order Extending the Period Within Which

         the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 3785] (the “Sixth

         Extension Order”), pursuant to which the Removal Deadline was extended through and including

         November 27, 2017.

                12.    The Debtors subsequently sought to further extend the Removal Deadline and, on

         December 8, 2017, the Court entered that certain Seventh Order Extending the Period Within

         Which the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 3929] (the

         “Seventh Extension Order”), pursuant to which the Removal Deadline was extended through and

         including February 26, 2018.

                13.    The Debtors subsequently sought to further extend the Removal Deadline and, on

         March 9, 2018, the Court entered that certain Eighth Order Extending the Period Within Which

         the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 4044], pursuant to

         which the Removal Deadline was extended through and including June 26, 2018

                14.    Most recently, the Debtors sought to further extend the Removal Deadline and, on

         July 12, 2018, the Court entered that certain Ninth Order Extending the Period Within Which the

         Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [Docket No. 4186] (the “Ninth

         Extension Order”), pursuant to which the Removal Deadline was extended through and including


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         October 24, 2018 (the “Current Removal Deadline”). As provided in the Ninth Extension Order,

         the Current Removal Deadline was established without prejudice to the Debtors’ rights to seek

         further extensions thereof.

                                                      RELIEF REQUESTED

                    15.      By this Motion, the Debtors seek entry of the proposed form of order (the

         “Proposed Order”), a copy of which is attached hereto as Exhibit A, extending the period within

         which the Debtors may remove actions and related proceedings by approximately 120 days,

         through and including February 21, 2019, without prejudice to the rights of the Debtors and their

         estates to seek further extensions of time within which to remove actions and related

         proceedings.2

                                                       BASIS FOR RELIEF

                    16.      Bankruptcy Rule 9027 and 28 U.S.C. § 1452 govern the removal of pending civil

         actions. Specifically, section 1452(a) provides that:

                             [a] party may remove any claim or cause of action in a civil action
                             other than a proceeding before the United States Tax Court or a civil
                             action by a governmental unit to enforce such governmental unit’s
                             police or regulatory power, to the district court for the district where
                             such civil action is pending, if such district court has jurisdiction of
                             such claim or cause of action under section 1334 of this title.

         28 U.S.C. § 1452(a). Bankruptcy Rule 9027(a)(2) further provides, in pertinent part that:

                             [i]f the claim or cause of action in a civil action is pending when a case
                             under the [Bankruptcy] Code is commenced, a notice of removal may
                             be filed in the bankruptcy court only within the longest of (A) 90 days
                             after the order for relief in the case under the Code, (B) 30 days after
                             entry of an order terminating a stay, if the claim or cause of action in a
                             civil action has been stayed under § 362 of the Code, or (C) 30 days
                             after a trustee qualifies in a chapter 11 reorganization case but not later
                             than 180 days after the order for relief.

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                Pursuant to Local Rule 9006-2, the filing of this Motion before the expiration of the Current Removal Deadline
                shall automatically extend the Current Removal Deadline until the Court acts on this Motion without the
                necessity for entry of a bridge order.
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         Fed. R. Bankr. P. 9027(a)(2).

                   17.    Bankruptcy Rule 9006(b) provides that the Court may extend unexpired time

         periods, such as the Debtors’ removal period, without notice:

                          [W]hen an act is required or allowed to be done at or within a
                          specified period by [the Bankruptcy Rules] or by a notice given
                          thereunder or by order of court, the court for cause shown may at
                          any time in its discretion … with or without motion or notice order
                          the period enlarged if the request therefor is made before the
                          expiration of the period originally prescribed or as extended by a
                          previous order.

         Id. at 9006(b)(1). Accordingly, the Court is authorized to grant the relief requested herein.

         See Raff v. Gordon, 58 B.R. 988 (Bankr. E.D. Pa. 1986) (stating that period in which to file

         motion to remove may be expanded pursuant to Bankruptcy Rule 9006); Jandous Elec. Constr.

         Corp. v. City of New York (In re Jandous Elec. Constr. Corp.), 106 B.R. 48 (Bankr. S.D.N.Y.

         1989) (same); see also, Doan v. Loomis (In re Fort Dodge Creamery Co.), 117 B.R. 438 (Bankr.

         N.D. Iowa 1990) (implying that time period in which removal motion may be filed may be

         extended pursuant to Bankruptcy Rule 9006); In re Boyer, 108 B.R. 19 (Bankr. N.D.N.Y. 1988)

         (same).

                   18.    The Debtors are parties to actions currently pending in the courts of certain states

         and federal districts (each, an “Action” and, collectively, the “Actions”), and believe that it is

         prudent to seek an extension of the time established by Bankruptcy Rule 9027 to protect the

         rights of the Debtors and their estates to remove the Actions.

                   19.    The Debtors submit that extending the Current Removal Deadline is in the best

         interests of the Debtors, their estates, and creditors. As detailed in the First Extension Motion,

         during the first several months of these Chapter 11 Cases, the Debtors’ management and

         professional advisors devoted a significant amount of time and effort towards ensuring a smooth

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         transition of the Debtors’ operations into chapter 11. At the same time, both prior and

         subsequent to the Petition Date, the Debtors and their advisors devoted a substantial amount of

         time, energy, and resources marketing the Debtors’ assets, including their significant lease

         portfolio, intellectual property and physical inventory, and exploring all value-maximizing

         alternatives for the estates. At the time the First Extension Order was entered, the Debtors had

         recently conducted an auction for substantially all of their assets, and subsequent thereto gained

         entry of an order authorizing them to sell their physical inventory and commence an enterprise-

         wide liquidation at their then-remaining retail locations.

                 20.     Subsequent to the entry of the First Extension Order, the Debtors successfully

         liquidated and monetized substantially all of their remaining assets, including, without limitation,

         certain leasehold interests, their intellectual property, valuable real property interests, their e-

         commerce inventory, and the estates’ interest in certain class action claims. In addition, the

         Debtors entered into value-maximizing settlements with their consignment vendors, their

         landlords, the Committee, and the Term Loan Agent, which, taken in the aggregate, paved the

         path for an orderly and efficient wind down of the Debtors’ estates.

                 21.     While performing various tasks related to completing the necessary diligence

         attendant to implementing the multiple sale processes and seeking, and ultimately securing, the

         case-altering settlements with the largest creditor constituencies referenced above, the Debtors

         also defended against various objections to relief critical to their wind down and the bankruptcy

         process, including, among others, objections to (i) the Debtors’ treatment of goods delivered on a

         consignment basis and putative consignment vendors, (ii) the Debtors’ store closing process, and

         (iii) the Debtors’ post-petition financing. Collectively, these tasks necessarily required a




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         significant expenditure of time and effort on the part of the Debtors’ management, now-depleted

         employee base, and professional advisors.

                22.     Subsequent to the entry of the Second Extension Order, the Debtors, their limited

         staff, and their professionals devoted significant time to, among other things, (a) addressing (and

         in many instances resolving) contested claims and motions related thereto, many of which

         implicated complex legal and factual disputes, (b) participating in extensive litigation with the

         purchaser of the Debtors’ e-commerce inventory, (c) playing a pivotal role in the resolution

         reached by and between the Term Loan Agent and the Debtors’ investment banker regarding the

         latter’s transaction fee, and (d) negotiating the continued consensual use of cash collateral on a

         go-forward basis.

                23.     Subsequent to the entry of the Third Extension Order, the Debtors continued to

         address contested claims and motions related thereto. In addition, the Debtors devoted

         significant time to, among other things, (a) commencing four (4) separate adversary proceedings

         and (b) filing motions to reject a computer lease agreement and various contracts.

                24.     Subsequent to the entry of the Fourth Extension Order, the Debtors, among other

         things, continued to address contested claims and related motions, implemented an orderly,

         Court-authorized procedure for making distributions to holders of allowed claims arising under

         section 503(b)(9) of the Bankruptcy Code, marketed and sold certain remnant assets, and

         maintained compliance with their reporting requirements.

                25.     Subsequent to the entry of the Fifth Extension Order, the Debtors, among other

         things, (a) resolved contested claims and related motions, (b) pursued, together with the Term

         Loan Agent, settlement proceeds from certain pay-by-scan vendors, (c) actively participated in

         ongoing litigation and endeavored to resolve pending disputes on a consensual basis, and


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         (d) prepared, and conducted due diligence in connection with, claim objections on behalf of

         Debtor TSA Caribe, Inc.

                   26.    Subsequent to the entry of the Sixth Extension Order, the Debtors, among other

         things, (i) successfully obtained approval of the disclosure statement for the liquidating plan

         proposed by Debtor TSA Caribe, Inc. (the “Caribe Plan”), (b) continued to prepare for

         confirmation of the Caribe Plan, and address issues related thereto, (c) participated in extensive

         mediation and negotiations related to a then-pending adversary, and sought and gained approval

         of a settlement reached at the conclusion thereof, (d) secured a further extension of their

         authority to use cash collateral on a consensual basis, and (e) sold certain additional remnant

         assets.

                   27.    Subsequent to the entry of the Seventh Extension Order, the Debtors, among other

         things, (a) obtained confirmation of the Caribe Plan and substantially consummated such plan,

         (b) established and implemented a supplemental administrative claims bar date in connection

         with the Caribe Plan, and (c) prepared for, and participated in, multiple rounds of discovery

         arising in two pending adversary proceedings, including with respect to depositions related

         thereto.

                   28.    Subsequent to seeking entry of the Eighth Extension Order, the Debtors, among

         other things, substantially consummated the Caribe Plan and continued to prepare for, and

         participate in, multiple rounds of discovery and motion practice arising in pending adversary

         proceedings. The Debtors further negotiated and finalized multiple settlement agreements with

         vendors, resulting in proceeds for the Debtors’ estates.

                   29.    Subsequent to the seeking entry of the Ninth Extension Order, the Debtors have,

         among other things, closed the Caribe case, negotiated for and obtained authority to consensually


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         use cash collateral on a go forward basis, entered into and obtained Court authority for a

         settlement agreement by and between the Debtors and a vendor counterparty, and continued to

         meet their reporting obligations in all respects.

                30.     Given these tasks, and the other administrative obligations placed on the Debtors,

         their limited staff and their advisors during the wind down process, the Debtors have not had

         sufficient time to review the Actions to determine if any should be removed pursuant to

         Bankruptcy Rule 9027(a). Accordingly, the Debtors submit that extending the Current Removal

         Deadline is in the best interest of the Debtors, their estates and creditors, and will allow the

         Debtors to further pursue an orderly wind down of their estates without unnecessary distraction.

         The extension sought will afford the Debtors an opportunity to make more fully-informed

         decisions concerning the removal of any Actions, and will assure that the Debtors and their

         estates do not forfeit the valuable rights afforded to them under 28 U.S.C. § 1452. Furthermore,

         the Debtors submit that granting the extension requested herein and establishing the extended

         Removal Deadline will not prejudice the rights of their adversaries in the Actions because, in

         many (if not all) circumstances, such parties may not prosecute these Actions absent relief from

         the automatic stay. In addition, nothing herein will prejudice any party to an Action that the

         Debtors may ultimately attempt to remove from seeking the remand of such Action under

         28 U.S.C. § 1452(b) at the appropriate time.

                31.     For the reasons set forth above, the Debtors submit that extending the Current

         Removal Deadline through and including February 21, 2019, and setting this date as the

         Removal Deadline, is necessary, prudent, and in the best interests of the Debtors, their estates,

         and their creditors.




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                                                      NOTICE

                32.     The Debtors have provided notice of this Motion to: (a) the U.S. Trustee;

         (b) Pachulski Stang Ziehl & Jones LLP (attn.: Robert J. Feinstein) as counsel for the Committee;

         (c) Riemer & Braunstein LLP (attn.: Donald Rothman) as counsel for (i) Bank of America, N.A.,

         in its capacity as Administrative Agent and Collateral Agent under the Second Amended and

         Restated Credit Agreement, dated as of May 17, 2012, and (ii) certain DIP Lenders under the

         Debtors’ postpetition financing facility; (d) Brown Rudnick LLP (attn.: Robert Stark and Bennett

         Silverberg) as counsel for (i) Wilmington Savings Fund Society, FSB as Administrative Agent

         and Collateral Agent under the Amended and Restated Credit Agreement, dated as of May 3,

         2006, and amended and restated as of November 16, 2010, and (ii) certain Term Lenders under

         the Amended and Restated Credit Agreement, dated as of May 3, 2006, and amended and

         restated as of November 16, 2010; (e) Choate, Hall & Stewart LLP (attn.: Kevin Simard) as

         counsel for (i) Wells Fargo Bank, National Association, in its capacity as FILO Agent under the

         Second Amendment to Second Amended and Restated Credit Agreement, dated as of November

         3, 2015, and (ii) certain DIP Lenders under the Debtors’ postpetition financing facility;

         (f) O’Melveny & Meyers LLP (attn.: John Rapisardi) as counsel for certain holders of 11.5%

         Senior Subordinated Notes Due February 19, 2018 under the Securities Purchase Agreement,

         dated as of May 3, 2006; (g) all holders of 11.5% Senior Subordinated Notes Due February 19,

         2018 under the Securities Purchase Agreement, dated as of May 3, 2006; (h) counterparties to

         the Actions; and (i) all parties that have filed a notice of appearance and request for service of

         papers pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested herein,

         the Debtors submit that no other or further notice is necessary.




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                  WHEREFORE, the Debtors respectfully request entry of the Proposed Order,

         substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

         such other and further relief as is just and proper.

         Dated:    October 16, 2018
                   Wilmington, Delaware               /s/ Andrew L. Magaziner
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                                                     Kenneth J. Enos (No. 4544)
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                                                     Debtors in Possession




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